Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page1of 78

CASE NO. 2:14-cv-02057
VIP Products L.L.C.
vs, Jack Daniel's Properties, Inc.

DEFENDANT’S EXHIBIT 192
DATE: . IDEN.
DATE: DA EVID.

BY: ( dW IL (WY

Deputy Clerk

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Firm E-Mail: courtdocsi@dickinsonwright.com

David G. Bray (#014346)
dbrayéedickinsomast igh com

Frank G. Long (#012245)
flone(@dickinsonwright.com

David N. Ferrucci (#027423)
dferrucci@dickinsonwright.com
DICKINSON WRIGHT, PLLC

1850 North Central Avenue, Suite 1400
Phoenix, Arizona 85004

Phone: (602) 285-5000
Fax: (602) 285-5100

Attorneys for VIP Products, L.L.C.

VIP Products, L.L.C., an Arizona limited
liability company,

Plaintiff,

Jack Daniel’s Properties, Inc., a Delaware
corporation

Defendant.

Jack Daniel’s Properties, Inc.,
a Delaware corporation,

Counterclaimant,

V.

VIP Products, LLC, an Arizona limited |
liability company, |
|

Counterdefendant |

Filed 10/19/17

Page 2 of 78

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

No, 2:14-cv-02057-DGC

PLAINTIFF AND
COUNTERDEFENDANT VIP
PRODUCTS, L.L.C.’S RESPONSES TO
¥ JACK DANIEL’S PROPERTIES, INC.’S
; SECOND SET OF INTERROGATORIES

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EXHIBIT NO.

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DEPOSITION cA.

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TAMARA H.HOWARD >
CERTIFICATE * 50156

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page3of 78

Plaintiff and Counterdefendant VIP Products, LLC (“VIP” or “Plaintiff’), by and
through undersigned counsel Dickinson Wright PLLC, hereby submit, pursuant to Rule 33 of
the Federal Rules of Civil Procedure, their Responses to the Second Set of Interrogatories
served by Defendant and Counterclaimant Jack Daniel’s Properties, Inc. (“JDPI”).

GENERAL OBJECTIONS

l, Plaintiff has not completed its investigation of the facts related to this case, its
discovery, or its preparation for trial. Plaintiff's responses, therefore, are made only on the
basis of such information and documents as it currently knows exist. Plaintiff has not
completed its investigation and discovery has only just commenced in this matter.
Accordingly, Plaintiff's responses do not purport to constitute a final statement of its
knowledge regarding the particular subject and are made without prejudice to its right to in
addition evidence or documents at the time of trial, or to supplement its responses as
appropriate once it has completed its investigation, discovery and trial preparation.

2, Plaintiff objects generally to the Definitions and Instructions to the extent that
they impose obligations broader than those imposed by the applicable Rules of Civil
Procedure, Plaintiff disclaims any such broader obligation purportedly imposed by such
Instructions.

3. Plaintiff objects generally to Defendant's Interrogatories (the “Request”) to the
extent that any Request can be read to call for information that is protected by the attorney-
client privilege, the work product doctrine, or any other applicabie privilege or immunity,
Such privileged information will not be disclosed and any inadvertent disclosure thereof will
not be deemed a waiver of any privilege or protection, By accepting information in response
to these Requests, the propounding party expressly accepts and acknowledges this non-
waiver,

4, Plaintiff objects to each and every Request to the extent that it seeks discovery |
regarding matters that are not relevant to the subject matter of the pending action or that are

not reasonably calculated to lead to the discovery of admissible evidence. These

2

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page4of 78

Responses shall not constitute a waiver of any such objections.

5. Plaintiff objects to each and every Request to the extent it purports to impose a
burden of disclosing information not readily available to Plaintiff or is equally available to
Defendant. Plaintiff further objects to each and every Request to the extent it purports to
impose a burden of identifying documents that are not in Plaintiff's possession, custody, or
control, or that cannet be found in the course of a reasonable search, or that have already
been produced by Plaintiff or others to Defendant. Plaintiff refers Defendant to such
documents for the content thereof.

6. The Responses set forth herein are based on information currently known to
Plaintiff. Plaintiff has not completed its investigation and discovery has only just
commenced in this matter. Accordingly, Plaintiff reserves the right to supplement, amend or
clarify any of its responses or objections as permitted by the Federal Rules of Civil
Procedure.

7. These Responses are given subject to and without waiving the foregoing
General Objections, each of which is incorporated by reference in its entirety into each of the

following answers.

NON-UNIFORM INTERROGATORIES

INTERROGATORY NO. 14: With respect to each of the products depicted in
paragraph 23 of the Amended Complaint, and any other product that VIP contends affects the
existence, protectability, or validity of the Jack Daniel’s Trade Dress of Jack Daniel’s Bottle
Design, state how long the product has been sold in its packaging and the extent of the |
advertising and sales of the product, expressed in unit or dollar sales, and advertising
expenditures for the period in which the product has been sold, and Identify all persons with
knowledge of the sales and advertising of the products.

RESPONSE: VIP interposes its General Objections and also objects specifically to
this interrogatory on the ground that it is a compound interrogatory with at least four separate

sub-parts addressing different issues that, cumulatively, put JDPI over the limit of
3

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page5of 78

twenty-five interrogatories permitted to each side. VIP further objects that this interrogatory
is overly broad and unduly burdensome in that it asks VIP to identify “ail persons” with any
knowledge of sales and advertising of all distillers of American whiskey and bourbon
products that use the standard “uniform” (as described by VIP’s expert Martin Wolinsky in
his report) to market and sell their competing American whiskey and bourbon products.
There are likely hundreds if not thousands of such individuals, the identities of all of whom
VIP could not possibly know. Without waiving these objections, VIP responds as follows:
The use by competitors of elements of Jack Daniel’s claimed trade dress in their products is
widespread and that use is discussed and/or examined in detail, both in the expert report of
Martin Wolinsky and the report independently prepared by Stephen Sacra attached as Exhibit
“1” hereto and incorporated by reference. Information on the history, sales and advertising
for these products is available from public sources, accessible equally by JDPI and, for its
convenience, specific website addresses for several of these products are provided in the
reports produced already and/or provided with these responses. Additional knowledgeable

persons may be identified through discovery.

INTERROGATORY NO, 15: — State in detail the factual basis for VIP’s allegation
in paragraph 27 of the Amended Complaint that the “features of Jack Daniel’s Trade Dress
and Jack Daniel’s Bottle Design are ‘essential to the use or purpose’ or ‘affect the cost or
quality” of the products sold using that trade dress and design and protecting the features of
the Trade Dress and Bottle Design would significantly undermine a competitor’s ability to
compete with Jack Daniel’s in the sale of distilled spirits,” including which features are
functional how the Trade Dress and Bottle Design yield a utilitarian advantage whether or not
alternative designs are available how advertising for Jack Daniel’s Old No. 7 Tennessee
whiskey touts the utilitarian advantage of the Trade Dress and Bottle Design and whether the
Trade Dress and Bottle Design result from a comparatively simple or inexpensive method of

manufacture, and Identify all persons with knowledge of the factual basis for VIP’s
4

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 6of 78

allegation.

RESPONSE: VIP interposes its General Objections and also objects specifically to
this interrogatory on the ground that it is a compound interrogatory with at least two separate
sub-parts addressing different issues that, cumulatively, put JDPI over the limit of twenty-
five interrogatories permitted to each side. Without waiving these objections, VIP responds
as follows: The utilitarian and aesthetic functionality of the alleged Jack Daniel’s Trade
Dress and Jack Daniel’s Bottle Design is supported by the expert reports of John Howard and
Martin Wolinsky respectively. Further evidence is set forth in a report independently
prepared by Stephen Sacra attached as Exhibit “1” hereto and incorporated by reference.
Persons with knowledge of the factual bases for the allegations contained in Paragraph 27 of
VIP’s Amended Complaint include Stephen Sacra, John Howard and Martin Wolinsky.

Additional knowledgeable persons may be identified through discovery.

INTERROGATORY NO. 16: State in detail the factual basis for VIP’s allegation
in paragraph 28 of the Amended Complaint that “elements of the Jack Daniel’s Trade Dress
and Jack Daniel’s Bottle Design are merely ornamental or decorative and do not function as
features signifying products from the Jack Daniel’s distillery,” including which elements are
merely ornamental and decorative, and identify all persons with knowledge of the factual
basis for VIP’s allegations.

RESPONSE: Evidence that the alleged Jack Daniel’s Trade Dress and the Jack
Daniel’s Bottle Design does not function as a mark to identify JDPI as the source of the JDPI
goods, and is not likely to be perceived as a source indicator, but serves merely as ornamental
features of the JDPI goods is supported by the expert report of Martin Wolinsky. Additional
evidence supporting VIP’s allegations that the alleged Jack Daniel’s trade dress, specifically
the elements described and showing in paragraph 6 of JDPI’s counterclaims, are merely
ornamental is contained in the report independently prepared by Stephen Sacra attached as

Exhibit “1” hereto and incorporated by reference. Persons with knowledge of the
5

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page/7 of 78

factual bases for the allegations contained in paragraph 28 of VIP’s Amended Complaint
include Stephen Sacra, John Howard and Martin Wolinsky. Additional knowledgeable

persons may be identified through discovery.

INTERROGATORY NO. 17: State in detail the factual basis for VIP’s allegation
in paragraph 36 of the Amended Complaint that the “combination of elements of the Jack
Daniel’s Trade Dress in generic because their primary significance is to identify any distilled
spirits, particularly bourbon or other corn based whiskey, rather than products from the Jack
Daniels distillery,” and Identify all persons with knowledge of the factual basis for VIP’s
allegation.

RESPONSE: The factual bases for VIP’s allegations that the combination of
elements of the Jack Daniel’s Trade Dress is generic are described in detail both in the expert
report of Martin Wolinsky and in the report independently prepared by Stephen Sacra
attached as Exhibit “1” hereto and incorporated by reference. Persons with knowledge of the
factual bases for the allegations contained in paragraph 36 of VIP’s Amended Complaint
include Stephen Sacra and Martin Wolinsky. Additional knowledgeable persons may be

identified through discovery.

INTERROGATORY NO. 18: State in detai] the factual basis for VIP’s allegation
in paragraph 44 of the Amended Complaint that the “combination of elements of the Jack
Daniel’s Bottie Design is generic because their primary significance is to identify any
distilled spirits, particularly bourbon or other corn based whiskey, rather than products from
Jack Daniel’s distillery,” and Identify all persons with knowledge of the factual basis for
VIP’s allegation.

RESPONSE: The factual bases for VIP’s allegations that the combination of elements
of the Jack Daniel’s Trade Dress in generic are described in detail both in the expert report of

Martin Wolinsky and in the report independently prepared by Stephen Sacra

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 8of 78

attached as Exhibit “1” hereto and incorporated by reference. Persons with knowledge of the
factual bases for the allegations contained in paragraph 44 of VIP’s Amended Complaint
include Stephen Sacra and Martin Wolinsky. Additional knowledgeable persons may be

identified through discovery.

INTERROGATORY NO. 19: State in detail the factual basis for VIP’s allegation
in paragraph 55 of the Amended Complaint that “As a matter of law, the combination of
elements of the Jack Daniel’s Trade Dress is non-distinctive and not entitled to trademark
protection,” and identify all persons with knowledge of the factual basis for VIP’s allegation.

RESPONSE: The factual bases for VIP’s allegations that the combination of
elements of the Jack Daniel’s Trade Dress is non-distinctive and not entitled to trademark
protection are described in detail both in the expert report of Martin Wolinsky and in the

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report independently prepared by Stephen Sacra attached as Exhibit hereto and
incorporated by reference. Persons with knowledge of the factual bases for the allegations
contained in paragraph 55 of VIP’s Amended Complaint include Stephen Sacra and Martin

Wolinsky. Additional knowledgeable persons may be identified through discovery.

INTERROGATORY NO. 20: State in detail the factual basis for VIP’s allegation
in paragraph 56 of the Amended Complaint that “As a matter of law, the combination of
elements of the Jack Daniel’s Bottle Design is non-distinctive and not entitled to trademark
protection,” and Identify all persons with knowledge of the factual basis for VIP’s allegation.

RESPONSE: The factual bases for VIP’s allegations that the combination of elements
of the Jack Daniel’s Bottle Design is non-distinctive and not entitled to trademark protection
are described in detail both in the expert report of Martin Wolinsky and in the report
independently prepared by Stephen Sacra attached as Exhibit “1” hereto and incorporated by
reference. Persons with knowledge of the factual bases for the allegations contained in

paragraph 56 of VIP’s Amended Complaint include Stephen Sacra and Martin Wolinsky,

7

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page9Qof 78

Additional knowledgeable persons may be identified through discovery.
INTERROGATORY NO, 21: — State in detail the factual basis for VIP’s allegation
in paragraph 65 of the Amended Answer that “One or more of the Counterclaims are barred
for failure to comply with statutory requirements,” including an identification of the specific
counterclaims that are barred by failure to comply with SPECIFIC statutory requirements,
and Identify all persons with knowledge of the factual basis for VIP’s allegation.
RESPONSE: Those counterclaims that rely on any U.S. Patent and Trademark
Office registration of any elements of the alleged Jack Daniei’s Trade Dress are barred for !
failure to comply with the requirements of 15 U.S.C. §§ 1051 and 1052 and 1127,
specifically § 1051(a)(2) and (3)(D) and § 1052(e)(1) and (5) and § 1127 (“Trademark”).
Persons with knowledge of the factual bases for the statutory bars to registration include
Stephen Sacra, John Howard and Martin Wolinsky. Additional knowledgeable persons may

be identified through discovery.

INTERROGATORY NO. 22; State in detail the factual basis for VIP’s allegation
in paragraph 67 of the Amended Answer that “The Counterclaims are barred in whole or in
part because one or more of Counter-plaintifPs purported marks and/or trade dress are not
famous, as the term is in (sic) construed under the Lanham Act,” including an identification
of the specific counterclaims that are barred and the specific marks and trade dress that are
not famous, and Identify ail persons with knowledge of the factual basis for VIP’s allegation.

RESPONSE; The specific Jack Daniel’s elements of JDPI’s trade dress and

trademarks that VIP contends are not famous include:
® square bottle with a ribbed neck
e a black cap
e@ a black neek wrap closure with white printing

e black front label with white printing

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 10 of 78

# brand name in arched lettering on front label

@ — filigreed border on the label

® an*“OLD NO.” mark

e a filigreed oval design in the middle portion of the label

e the words “Tennessee” and “Sour Mash Whiskey” on the label, and

e the word “Tennessee” depicted in script

VIP notes that JDPI has the burden of proof to establish that any of the above elements
of its trade dress and trademarks are “famous.” The factual bases for VIP’s allegations that
the combination of elements of the Jack Daniel’s Bottle Design does not identify and indicate
the source of the goods, even if that source is unknown, and is non-distinctive and is not
entitled to protection as a “famous” mark or are detailed both in the expert report of Martin
Wolinsky and in the report independently prepared by Stephen Sacra attached as Exhibit “1”
hereto and incorporated by reference. Persons with knowledge of the factual bases for the
allegations contained in paragraph 67 of the Amended Answer include Stephen Sacra and

Martin Wolinsky. Additional knowledgeable persons may be identified through discovery.

INTERROGATORY NO. 23: State in detail the factual basis for VIP’s allegation
in paragraph 68 of the Amended Answer that “The Counterclaims are barred because
Counter-Defendant’s conduct constitutes fair use,” and Identify all persons with knowledge
of the factual basis for VIP’s allegation.

RESPONSE: VIP incorporates by reference its responses to JDPI’s interrogatory
numbers 9 and 10 previously submitted on March 11, 2015. Also, VIP adds that its use of
the design elements that JDPI alleges are “Jack Daniel’s Trade Dress” is: use that VIP made
only to describe Jack Daniel’s Old No. 7 Tennessee Whiskey which, (assuming for purposes
of argument that the alleged trade dress qualifies as protected trade dress) is not readily

identifiable without use of the selected design elements; use that was limited to only that
9

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page11of 78

use reasonably necessary to identify the Jack Daniels’ Old No. 7 Tennessee Whiskey
product; and use that did not involve anything that would, in conjunction with that use,
suggest sponsorship or endorsement by JDPI. Persons with knowledge of the factual bases
for the allegations contained in paragraph 68 of the Amended Answer include Stephen Sacra
and Martin Wolinsky, Additional knowledgeable persons may be identified through

discovery.

INTERROGATORY NO. 24; State in detail the factual basis for VIP’s allegation
in paragraph 69 of the Amended Answer that “The Counterclaims are barred in whole or in
part by reason of other parties’ prior or current use of marks and/or trade dress similar io
Counter-Plaintiff's purported marks and/or trade dress,” Identify each referenced party, and
Identify all persons with knowledge of the factual basis for VIP’s allegation.

RESPONSE: The factual bases for VIP’s allegations in paragraph 69 of the |
Amended Answer are detailed both in the expert report of Martin Wolinsky and in the report
independently prepared by Stephen Sacra attached as Exhibit “1” hereto and incorporated by
reference. Additional factual information is being or will be provided through document
production. Persons with knowledge of the factual bases for the allegations contained in
paragraph 69 of the Amended Answer include Stephen Sacra and Martin Wolinsky.

Additional knowledgeable persons may be identified through discovery.

INTERROGATORY NO. 25: _ State in detail the factual basis for VIP’s allegation
in paragraph 70 of the Amended Answer that “The Counterclaims are barred in whole or in
part because Counter-Defendant’s alleged marks and/or trade dress are invalid, unenforceable
and/or not infringed,” and Identify all persons with knowledge of the factual basis for VIP’s
allegation.

RESPONSE: The factual bases for VIP’s allegations in paragraph 70 of the |
Amended Answer that the JDP] Trade Dress and Bottle Design are invalid and unenforceable

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 12 of 78

are detailed both in the expert report of Martin Wolinsky and in the report independently
prepared by Stephen Sacra attached as Exhibit “1” hereto and incorporated by reference, As
for the allegation that JDPI’s marks are not infringed, VIP incorporates by reference is
responses to JDPI’s interrogatory numbers 9 and 10 previously submitted on March 11, 2015.
Persons with knowledge of the factual bases for the allegations contained in paragraph 70 of
the Amended Answer include Stephen Sacra and Martin Wolinsky. Additional

knowledgeable persons may be identified through discovery,

RESPECTFULLY SUBMITTED this 17" day of June, 2015.

DICKINSON WRIGHT PLLC

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David Gr Bray —

Frank G. Long

David N. Ferrucci

1850 North Central Avenue, Suite 1400
Phoenix, Arizona 85004

Attorneys for VIP Products, L.L.C.

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 13 of 78

CERTIFICATE OF SERVICE

I hereby certify that on June 17, 2015, I e-mailed and mailed Plaintiff and
Counterdefendant VIP Products, LLC’s Responses to Defendant and Counterclaimant Jack

Daniel’s Properties, Inc.’s Second Set of Interrogatories to each of the parties set forth below:

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Christopher C. Larkin, Esq.
clarkin@seyfarth.com

SEYFARTH SHAW LLP

2029 Century Park East, Suite 3500

Los Angeles, California 90067-3021
Attorneys for Jack Daniel's Properties, Inc.

Gregory P. Sitrick, Esq.

Gregory. sitrick@quarles.com

Isaac S. Crum, Esq.
Isaac.Crum/a}quarles.com

QUARLES & BRADY LLP

One Renaissance Square

Two North Central Avenue

Phoenix, Arizona 85004-2391

Attorne}js for Jack Daniel's Properties, Inc.

12

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 14 of 78

VERIFICATION
STEPHIEN SACRA hereby declares under penalty of perjury
That he as the owner and manager of plainuff/counter-defendant VIFF Products. 11.0
(“VIP”) and that he is authorized to make this verification on VIP's behalf! that he has read
the foregoing Response to Defendant’s Second Set of interrogatories. and [hat (ie answers
contained herein are true and correel based upon his own knowledge. information and belie

Executed within the State of Arizona this 17‘ day of June. 2015

STEPHEN SACRA

PHOENIX 53913-11 222498vi

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 15 of 78

EXHIBIT 1

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 16 of 78

American Whiskey/Bourbon Report

June 6" 2015
Written and Compiled By Stephen Sacra
Owner of VIP Products and creator of the “Bad Spaniels” Parody dog toy

Purpose:

The purpose of this report is to evaluate and statistically analyze the use of bottles and labets in the whiskey and
bourbon industry. The goal is to identify and collect data of each “Brand House” portfolio, and the list of brands
that are being produced, or claim to originate in the states of Tennessee and Kentucky. Further, this report will
identify market competitors, competing brands, and the use of both broad and specific characteristics of bottles,
bottle features, labels, and label features present in today’s market and throughout history, going back to birth of
batting spirits. In the end, this report will provide a clear and statistical analysis of bottling and labeling practices
of the Whiskey and Bourbon Industry, and more specifically how it relates to Jack Daniel’s bottle design and
alleged bottle trade dress.

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 17 of 78

Who is Stephen Sacra?

Education & Design Background:

My name Is Stephen Sacra and my education consists of a bachelor’s degree from Arizona State University from
the schoc! of engineering for Integrated computer graphics and 3D multimedia. Of my 5 years degree, 3 of those
years were spent in the school of architacture studying for industrial design. My shift to the school of engineering
was to incorporate the use of computers into my education In design. | have baan designing and manufacturing
products for my own companies and companies of athers as far back as 1995, giving me 20 years of experience
with the process and development of molded and injected products, manufacturing, marketing and distribution.

Liquor Industry Background:

Let's get to the point... | was never the CEO of the largest fiquer distributor in the world, and] don’t have 50 years
experience as the head of marketing for a billion dollar liquor company, and it goes without saying | am not a
lawyer either. | guess that is why | have to hire experts and lawyers to present facts that my own personal
experience has taught me to be true,

So what is my experience? At the age of 21..,.. 22 years ago.....which is half of my existence, | got a job working for
Anheuser Busch promoting and launching brands into the market. This amazing job lasted through my college
years and meant that | spent every afternoon and every night, year after year in a bar drinking and promoting
alcoholic beverages. During which time, i met my now wife, 20 years ago, wha also worked in marketing and
promotions for Miller Brewing Company and Bacardi. My wife worked in the liquor Industry until the early 20005
and It took me those 7 years to convince her to marry me, which means { was in a bar every night promoting or
aiding in the promotions of alcohoi for the better part of 10 years.

Since | was always in a bar.... cooking was not on the forefront of my skill set and the habit of eating out for every
meal, sitting at a bar, conversing with industry staff, has become part of my life. To this day, { eat minimum of 2
times a day 365 days year In a restaurant or bar, 95% of which | sit at the bar staring directly at the back bar full of
alcohol, It Is safe to say that in 22 years of the 16,050 meals that | have consumed, | have had over 10,000 In a bar
or restaurant. So, at the minimum, § can say that compared to anyone else who is reading this... without 2 doubt
am an expert at eating out, taiking with bar staff, and staring at bottlas alcohol and their sizes shapes and colors on
the back bar.

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 18 of 78

Tequila Collector, With Largest Private “Bottle” Collection in the USA;

Somewhere along the way, | fell in love with tequila and when | moved inte my last house, | decided to build the
first ever “Tequila Room”. This room pictured below is a 225 square foot tequila room with over 600 different
bottles of the more unique tequilas of the over 3000 in production that | have learned exist or existed. This room Is
chilled dawn to 57 degrees, the perfect temperature for consuming straight from the bottle. To date, | belleve that
i have the largest “private” collection of tequila in the United Sates, and my network of Mexican tequila distillers,
and Industry friends that work for the big brand houses, tell me they know of no one else that has come forth to
challenge my claim.

The shelves below are as deep as a wine bottle Is tall and behind every bottle you see are 2 more bottles,

3|Page

SAC0003

Case 2:14-cv-02057-SMM Document 229-2

Filed 10/19/17

Page 19 of 78

As a collector of tequila, | am not only collecting what is inside the bottle, but | am collecting unique ane of a kind
hand crafted bottles to display in this amazing room. The fact is.... Mexico is one of the only countries that believes
that the heritage of true craftsmanship should be displayed on the outside of a bottle, and they honor this
tradition by selling their premium tequilas in truly unique one-of-a-kind bottles handmade from a true artist. | have
7 years collecting and shopping for tequila bottles, and my experience has taught me how to distinguish the
difference between a unique bottle and an Industry bottle. With a room that is now full, | am now only on the

quest for the most unique,

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Teco ae nba
Bie bey eT Wd

Bottle to the right is an example of a hand crafter one of a kind.

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 20 of 78

Reporting Method

Scope:

This Report focuses specifically at American whiskey/bourbon Industry. Bad Spaniels dog toy Is a Parody of an
American whiskey/bourbon and, thus, including spirits from other countries would make this report overly broad.

inclusion of Competitors:

The word “competitive” is extremely important because you cannot understand the industry untii you have
identified the market competitors. This report focuses on collecting, and presenting data for the competitors in
the American whiskey/bourban Industry as a whole. The report looks at all the companies equally and compiles
data found far Brown Forman, Jack Daniel's and their competitors both large and small. By looking et the entire
market segment, this report is able to look at Jack Daniel's as a percentage of an Industry and evaluate the Jack
Daniel's business on an evan playing field with their competitors,

Narrowing of Scope:

in order to get a good sample of the market without having to look at every bottle in existence, | narrowed the

focus to the largest producers of American whiskey/bourbon in Tennessee and Kentucky, representing the largest
segment of the market and the most number of bottles sold, generating the largest portion of the industry
revenue.

Collection of Data:

Data for this report was collected from the internet and a few months of research that | have put into learning
more about the industry, Brawn Forman, and more specifically its immediate competitors. The data | collected is in
the form of images of bottles, referenced against the brand's website, ar past website, and data from industry
advertisements and internet blogs and historical websites. Each bottle used is numbered and referenced in tha
calculation of data spreadsheets. Each bottle shown, to the best of my knowledge and research Is sold, was sold, or
is being sold in the global market.

Defining the industry Pyramid Structure:
The American whiskey/bourbon Industry can be broken down as Follows:

Brand House - This is the mother company that owns the portfolio of the industry brands. The brand houses are
the TRUE companies that compete against one another in the market place. Each brand house will have many
brands in its portfolio,

Distilleries = These are the factories owned by the brand houses that produce the product that is packed and
marketed as the different brands found in the global market place.

Brands — Inside each brand house Isa dist of brands that are marketed and sold, and many Srands are made by the
same distilling factories.

Styles/Blands - Inside each brand are different styles of products that are produced and marketed under each
brand. Many brands dupticate styles and blends and others have one of a kind styles and blends.

5iPage

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 21 of 78

Method for Collection of Data:

General Steps:

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Research and determine all the major brand houses making products In Kentucky and Tennessee that are
*compatitars” to Jack Daniel's.

Research and include all the distilleries under the brand house

Research and include all of the American whiskey /bourbon brands of each house

Research and Include all of the styles and blends of each brand

Compile a list of features identifled by Jack Daniel's as a part of their alleged bottle trade dress and
trademarks

Research a list of styles, blends, and brands of each house distiflery

Find visual representations of each of the above results using the Internet

Look at each visual representation found and compare it to the list of features identified by Jack Daniel's
as a part of their alleged bottle trade dress and trademarks.

Compile the data in a spreadsheet separating by each brand house which represents ¢ach competitor of
the mother company Brown Forman, owners of Jack Danial’s.

Compile the data In a spreadsheet with all brands and styles as a total.

Research financial data for Each brand house from the SEC to determine who would be considered Brown
Forman/lack Daniel's equivalent competitor in both brand house and brands,

Method & Steps to Analyze Bottie Design and Trademark:

L
2.

Separate bottles by shape, then style, and identify groups of bottles with similar characteristics.
Calculate the % that each style of bottle represents as part of the whole.

Mathod & Steps to Analyze Ornamental Label Design and Alleged Bottle Trade Dress:

1. Sort bottles by features identified by Jack Dantel's as a part of their alleged bottle trade dress
2, Calculate the % that each feature represents as part of the whole.
&/Page

SAC0006

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 22 of 78

Bottle Design Analysis

A Statistical Evaluation of Data Collected from Reviewing 114 Bottles

From 7 Brand Houses and Others

(Sea spreadsheet for individual datail and bottie data]

7|Page

SAC0007

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 23 of 78

Background

Trademark Office Registration, No. 4,106,178

Jack Daniel's Properties, Inc. (“IDPI"), owned by Brown Forman Inc, the owners of the Jack Daniel's portfolio,
claims that it holds a trademark in “a square shape bottle container . . . for distilled spirits.” The Jack Daniel's
boitle shape has a U.S, Patent and Trademark Office Registration, No. 4,106,178, for “the three-dimensional
configuration of the squave shaped bottle container for the goods, having an embossed ridge or scalloped design
on the neck portion of the bottle, and an embossed signature design comprised of the words “JACK DANIEL’? (see
Amended Complaint, paras. 18 and 21, and Amended Answer, paras, 18 and 21).

lilustration on Right

The Jack Daniet’s bottie design as illustrated in the Trademark Office registration

Primary Features
The Jack Daniel's bottle design has three primary features:

{1} a square shaped bottle container

(2} an embossed ridge or scalloped design on the neck portion of the battle, and

{3} an embossed signature design.

Statistical Objectives

VIP reviewed 114 bottles used by American whiskey/bourbon brands to determine whether the combined three
élemental features of the Jack Daniel's bottle design are:

1, Basic design features common in the Industry for distlliad spirits, particularly bourbon and other American
whiskey; features that, if allowed to be used exclusively by Jack Daniel's, would significantly undermine a
competitor's abillty to compete with Jack Danial’s In the sale of distilled spirits

2. design elements that sre merely ornamental or decorative and do not function as features signifying
products fram the Jack Daniel’s

3. Acombination of features that is generic for distilled spirits in general or American whiskey in particular
because their primary significance is to identify any distilled spirits, particularly bourbon or other
American whiskey, rather than products from Jack Danlet’s

4. Amere refinement of or variation on existing bottle design or pottie trade dress with the field of distilled
spirits and whiskey in particular.

The following pages reveal the results of that review and an analysis of those results and the conclusions drawn
from that analysis.

BiPage

S5AC0008

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 24 of 78

Summary of Results for Bottles & SHAPES:

**SEE Spreadsheet of collected data

Brand Houses:
BRAND HOUSE Number Of Reported 2013 Revenue | Percentage

Bottles (As Reported to the SEC) | Bottles / Total
Reviewed

1 Alltech 3 Private 3%

2 Beam Suntory 25 3,148,400,000.00 22%

3 Brown Forman 13 3,784,000,000.00 11%

4 Heaven Hill 19 Private 17%

5 KBD (Kentucky Bourbon Distillers) 12 Private 11%

6 Luxco 8 Private 7%

7 Sazerac Brands 21 Private 18%

8 Others 13 Unknown 11%

TOTAL | 114 100%
As Reported to the SEC
ADVERTISING Budget Beam Suntory 2013 401,000,000
ADVERTISING Budget Brown Forman 2013 408,000,000

Observation: Beam Suntory and Jack Daniel’s are comparable competitors, noted by the fact
that they have similar revenue and have comparable advertising budgets. Both companies are
publicly traded and they both make whisky/ bourbon spirits. Beam Suntory has 12 additional
brand bottles available to review in the review set.

Listing of 12 identified Distinct Bottle Shapes: 9| Page

**Photos of bottle categories on 12 following pages

Square | Height Neck fluting | Additional Shape Description QTY Percentage

/Round and facetin Bottles / Total
1 Round Tall Flared Bottom 3 3%
2 Round Tall Wine Bottle Shape 4 4%
3 Square | Tall No Neck: Varies 4 4%
4 N/A Vary Reverse Tear Drop 5 4%
5 Round Short Neck : Short 6 5%
6 Round Tall Neck: Tall 6 5%
Zz Round Tall Neck: Tall 7 6%
8 Square | Short No Neck: Short 9 8%
9 Round Tall Neck: Short 9 B%
10 Round Tall Neck: Generic Round i1 10%
11 N/A N/A Unique Bottle Shape 8 7%
9|Page

SAC0009

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 25 of 78

3%

Bottle Shape 1

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Bottle Shape (Round Flare Bottom )

American Whiskey/Bourbon Industry -

9|)Page

SAC0010

Case 2:14-cv-02057-SMM Document 229-2

10|Page

Bottle Shape 2

020 051 059

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Filed 10/19/17

Page 26 of 78

4%

Bottle Shape (Wine)

American Whiskey/Bourbon Industry -

§AC0011

Case 2:14-cv-02057-SMM Document 229-2

Bottle Shape 3

11| Page

O71 102 096

008

Filed 10/19/17

Page 27 of 78

4%

Bottle Shape (Square Tall) Neck (No Scallop)

American Whiskey/Bourbon Industry -

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 28 of 78

Bottle Shape 4

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American Whiskey/Bourbon Industry -

12|Page

SAC0013

Page 29 of 78

Filed 10/19/17

Case 2:14-cv-02057-SMM Document 229-2

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Bottle Shape 5

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- Ajsnpuj uoqunog/AeysiujA UBDUSLLY

13| Page

SAC0014
Page 30 of 78

Filed 10/19/17

Case 2:14-cv-02057-SMM Document 229-2

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Bottle Shape 6

(Buidoyeos) yooxy (punoy) adeys omjog

- Aqsnpu| uoqunog/AsysiyA\ UBIUEUY

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 31 of 78

Bottle Shape 7
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15|Page

American Whiskey/Bourbon Industry -

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Page 32 of 78

Filed 10/19/17

Case 2:14-cv-02057-SMM Document 229-2

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Bottle Shape &

(doles ON YOYS) yoeN (e1eNbg) edeys emog - ANSnpu] UOqunog/Asysiy;, UBQUEWY

880 €80 820 +0 cLO

16|Page

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Case 2:14-cv-02057-SMM Document 229-2

Bottle Shape 9

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wee AC

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Filed 10/19/17

Page 33 of 78

087 058 054 056 055

085

8%

Neck (Short)

Bottle Shape (Round Tall)

American Whiskey/Bourbon Industry -

SACO0018

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 34 of 78

Bottle Shape 10

10%

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American Whiskey/Bourbon Industry -

18|Page

SAC0019

Case 2:14-cv-02057-SMM Document 229-2

Bottle Shape 11

19|)Page

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047

076

009

Filed 10/19/17

Page 35 of 78

010

057

075

069

1%

Bottle Shape (Unique)

American Whiskey/Bourbon Industry -

SAC0020

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 36 of 78

107

004 040
Jack Daniels 6%
Jim Beam 11%
Other Brands 19%

at

110

36%

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American Whiskey/Bourbon Industry - Bottle Shape (Industry Generic Square)

Neck (industry Generic Fiuting or Faceting)

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 37 of 78

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“This page is designed as a visual ald for you to see all of the design subsets together and easily recognize that among 114 bottles
reviewed the mast “Common and Generle” are square with fluted or faceted necks

22|Page

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 38 of 78

Statistics of Bottle Shape # 12 (Industry Generic Square)
42 Square Bottles with Neck Fluting and Faceting (36% }

BRAND HOUSE Number Of | Comment Percentage
Bottles Bottles / Total
1 Alltech 0 0%
2 Beam Suntory 12 11 Brand Embossed Bottle 29%
3 Brown Forman 9 7 Brand Embossed Bottle 21%
4 Heaven Hill 8 19%
5 KBD (Kentucky Bourbon Distillers) | 2 5%
6 Luxco 4 10%
7 Sazerac Brands 4 10%
8 Others 3 7%
TOTAL | 42 100%
Statistics of 21 Square Bottles with Neck Fluting and Faceting and Including Embossed Brand
“Matches the 3 primary features of bottle design claimed in Jack Daniel's Trademark reg no. 4,106,178
BRAND HOUSE Number Of Comment Percentage
Bottles Bottles / Total
2 Beam Suntory 11 Brand Embossed Bottle 61%
3 Brown Forman 7 Brand Embossed Bottle 39%
TOTAL | 18 100%
Conclusions:

1, The bottle design with the largest percentage in the market, at 36%, is the generic “square” bottle with
fluting or faceting on the neck. The next closest shape is the generic “round” bottle at 10%. These twa
bottle styles represent 46% of all the shapes reviewed in this study.

2. The 2 larger brand houses, Beam Suntary and Brown Forman, represent collectively 7 billion dollars of the
spirit market and appear to be equivalent competitors In the American whiskey/bourbon segment of the
market.

3. Beam Suntory has 11 bottles that Incorporate a square bottle with fluting or faceting, and an embossed
logo and Jack Daniel's has 7.

4. There are 18 Bottles In the bottles reviewed that are square bottles with neck fluting and/or faceting with
and embossed brand. 61% of these bottles are produced by Beam Suntory, and 39% are produced by Jack
Daniel's.

5. These 18 bottles represent 16% of the total bottles reviewed giving Beam Suntory 9.7% of the total 114
gottles reviewed and Jack Daniel's 6.3%

6, 48% of bottles reviewed are square in shape

Margin of Error:

With the sampling size of aver 100+ bottle the addition or exclusion of any one bottle would only modify the
findings less that 19, It would require an allowance or disallowance of 20+ bottles to the largest subset to make a
significant change in the outcome. Otherwise the findings of fact would remain unchanged.

23|Page

SAC0023

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 39 of 78

Corporate Financial Information

Identification of a Brawn Forman Competitor in Gross Safes
And

Comparable Advertising and Marketing Expenditures

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 40 of 78

20012 & 2013 SEC Filings

BEAM - Beam Inc BFB - Brown Forman Corp
Y¥ 2013 ¥ 2012 ¥ 2013 ¥ 2012
12/30/2013 12/30/2012 4/29/2013 4/29/2012
$3,148,400,00  $3,063,900,00 $3,784,000,00  $3,614,000,00
Sales 6 6 Net sales 0 0
($601,100,000  ($604,200,000
Less: Excise taxes ____) } Excise taxes $935,000,000 _—-$891,000,000
$2,547,300,00  $2,459,700,00
Net sales 0 0 Cost of sales $894,000,000 $928,000,000
$1,067,900,00  $1,023,700,00 $1,955,000,00 $1,795,000,00
Cast of goods sold o o Gross profit oO 9
$1,479,400,00  $1,436,000,00
Gross profit o Advertising expenses $408,000,000 395 000
Selling, general, and
Advertising and administrative
marketing expense $401,000,000 _$ 398,700,000 expenses $650,000,000_ _— $10,000,000
Salling, general and Amortization
administrative expense $392,200,000 $412,900,000 expense $0.00 $3,000,000
Amortization of Other expense
Intangible assets $17,500,000 $17,200,000 (income), net {$1,000,000) ($1,000,000)
Gain on sale of brands
and related assets ($13,200,000) = 2 Operating Income $896,000,000 $788,000,000
Restructuring charges $15,300,000 $4,300,000 Interest Income $3,000,000 $3,000,000
Business separation
costs = $13,800,000 Interest expense $36,000,000 $31,000,000
Asset Impairment Income before
charges $49,500,000 $15,600,000 income taxes $865,000,000 $760,000,000
Operating Income $617,100,000 $573,500,000 Incame taxes $274,000,000 $247,000,000
Interest expense $91,600,000 $109,000,000 Net Income 591,000,000 $13,000,000
Loss on early
extinguishment of debt $56,900,000 "
Income $8,800,00 100,000
Incame from

continuing operations

before income taxes $477,400,000 $499,600,000

Income taxes $111,900,000 $96,200,000
Income from

continuing operatlons-

Beam Inc. $365,500,000_ _$403,400,000

(Loss) incame fram
discontinued operations,

net of tax (93,000,000) _($18,200,000)
Net income $362,500,000 $385,200,000

Less: Noncontrolling

Interests related to

discontinued operations -
Net income

attributable to Beam

Inc. $362,500,000 $385,200,000

Observations:

Beam Suntory and Jack Daniel's are Comparable competitors, they both have comparable advertising budgets,
they are both publicly traded, and they both make whisky/ bourbon spirits.

25 (Page

SAC0025

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 41 of 78

Additional Observations Regarding Bottle Shape

Line Drawings Comparing Past and Present Bottle Design

Comparing Jim Beam and Other Brown Forman Brands Side By Side with Jack Daniel's

26|Page

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 42 of 78

Additional Observations Regarding Bottle Shapes:

http://designcue.com/case/jack-Danlels/

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oe hp) To

Previous siihquette slight modifications evolved silhouctle

"The design stays true to the legacy of the original square bottle with fluted
neck that Mr. Jack selected back in 1895”

Observations:

it appears that the company called Cue is the brand design company that played a pivotal role In the bottle
redesign, as they have posted the above image on their site, This Image shows clearly that the intention was to
make a slight modification to an existing bottle shape. In the pictures to follow you will want to note that the
“Previous” bottle Is almost identical to the Jim Beam bottle. The differences you can see are afso “Slight
Modifications” between all of the bottles amongst brands old and new

27 |Page

8AC0027

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 43 of 78

Additional Observations Regarding Bottle Shapes:

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Bottle Overlay
@ 50% Opacity

Conelusions:
At some point in business Jack Daniel's owned by Brown Forman, and Jim Beam were using bottles and labels that
are remarkably similar. As you can see from the photo, both bottles are square in shape , both have fluting or

faceting of the neck, have an embossed logo , have ingress areas for the placement and protection of labels, have
similar bulb shape necks, and have similar rounded top and bottom bodies,

** All (mages were acquired from the internet and had to be scaled based on pixel and Image size. These are
general images for comparison purposes only, Perfect representations do not change the facts stated above.

28|Page

5AC0028

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 44 of 78

Additional Observations Regarding Bottle Shapes:

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Bottle Overlay @ 50% Opacity
Conclusions:

Brown Forman is the owner of both of the following Brands: Jack Daniel's and Early Times Whiskeys. It appears
that Brown Forman has adopted the use of its Jack Daniel’s square bottle shape, use of fluting & faceting on the
neck to help consumers identify Early Times as a whiskey. This does not make Early Times unique, or Jack Daniel's.

** All Images were acquired from the internet and had to be scaled based on pixil and image size. These are
general images for comparison purposes only . Perfect representations do not change the facts stated above.

29|Page

SAC0029

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 45 of 78

History Lesson

115 Years of Competitors using the Same Bottle Shape & Bottle Trade Dress
The history of the Square Bottle with

Observations that Show Competitors Used the Same Jack Daniels Bottle Trade Dress

301Page

SAC0030

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 46 of 78

Historical Observations:

Wm ILLINOIS GLASS COMPANY.

LIQUOR BOTTLES.

THEER NOW SHAPES.
THE ALTOR 6QUA4RE, PLINT HRABDY.
Moald Now O14, oe capmalay a aus, Per prow, packed ind prem beara
oe o mm a " ’ ae 8 e i .
ae oo 27h, Biotbe gultea, aw ¢ 1” .°
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THE PRIMMOSR WHISKEY, TOUR MOULD, AMBER
Meats No. a. uw oa, Sapiple, $6 aie i? Brom, parked td poms baer

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ot Be, wa a ’ 1
ow BB eo ‘ ' 1
Nea. 6h, and 197 ae Regntes Tren Moulds, |
THE MAVERICK BRANDY, PLint,
Mould Neji he pattem. $0) 30 Lit. per grees, packed tw % print haven
Hea iteti wh nicy ul the stave lo other coltrs oat Lega: ie

htto://www.sha.org/bottle/igco 1906.htm

Observations:

The above is page 126 from the 1906 catalog fram Illinois Glass Company, and page 152 from the 1926 catalog for
the same bottle. Vou see on the left and right side the bottle was named “The Alton Square, Flint Brandy” bottle. It
Is easy to conclude that... if this bottle was available In the general catalog, then any producer of whiskey could
purchase and adopt this bottle shape to sell and pramote their whiskey. (Further down, you will see several
examples of these same bottles with different brands)

31 |Page

SAC0031

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 47 of 78

Historical Observations (continued):

Owens lilinois 1906 catalog teaches us, on page 3, the introduction Page of the catalog, that bottles displayed in
the catalog are common. The following sentence below is printed, and clearly agrees with the above conclusion.

“Of necessity only bottles of Common use and designs are showa In a catalogue of this kind, all special and
proprletary designs belong to our customers, “

= ” -

ILLINOIS GLASS Co.

FIPS sss yeH

bject Matter:

Of necessity, only bottles ef common use and design are shown in a Catalogue
kind, all special and proprietary desigas belonging to our customers. The
four sales on Private Mould bottles, designed and used for special needs,
xcecds that on stock ware, Were the object of this book si uply to make
ginal ond to advertise the extent of our business, i: would present a very
appearance, Under the-caption of ’‘Moutds for Special Shapes,” page 20,
¢ tried in brief to offer a few suggestions to users of special bottles, which
ust may be of value,

Observations of the Entire Catalog (too large to display in report)

If you look closely and examine the entire Illinois Glass Co. catalog you wil! see that the catalog is segmented into
bottla types. You can see at the top of page 126, the page is called Liquor Bottles, This catalog teaches that certain
styles of bottles were sald specifically for bottling altohal. You can also see that they identify the type of alcohol
that would be associated with the shape of the bottle.

The entire catalog is indexed and categorized by bottle function and type. (i.e, prascriptions, pomadas, pickles,
liquor etc.) When necessary, each bottle represented on each page is identified with an even more specific
functional purpose and use. {i.e. brandy, whiskey etc.)

This indicates that bottle shapes and sizes had become functionally recognized by the public. Cansumers and
manufactures alike cecognized the connection between bottle shape and size and more specifleally bottles used
for containing distilled spirits, thus, making shape “Functional”,

Far bottles that had no specific function, the bottles were simply classifled by their shape or size. Another teaching
that function js directly related to the shape of a bottle and its publicly recognized use is what defines that function
and how it is categorized.

Jack Daniel's early bottles, match the “Alton Square” verifying that the shape of the Jack Daniel's bottle was Is
“Common Use”. See next set of images showing early bottles of Jack Daniel's.

92|Page

SAC0032

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 48 of 78

Historical Observations (continued):

The below excepts are from the website:

SOCIETY for
\ HISTORICAL
‘fg, ARCHAEOLOG

www, sha.org which is the “Society for Historical Archaeology”

Formed in 1967, the Society for Historical Archaeology (SHA) is the largest scholarly group
concerned with the archaeology of the modern world (A.D. 1400-present). The main focus of
the society Is the era since the beginning of European exploration. SHA promotes scholarly
research and the dissemination of knowledge concerning historical archaeology. The society is
specifically concerned with the identification, excavation, interpretation, and conservation of
sites and materials on land and underwater. Geographically the society emphasizes the New
World, but also includes European exploration and settlement in Africa, Asia, and Oceania.

quare LONE-ne cked S pirits bottles: Another fairly
popular form for liquor bottles is as pictured to the left with a moderate

fheight and width square body and a relatively long neck. The body
sometimes has a very slight taper in from shoulder to heel and the finishes
jare dominated by the brandy and straight brandy types. This general shape
seems to have originated, or at least become popular, by the 1890s and was
‘most used during the first two decades of the 20th century, i.e., 1900-1920
(Wilson & Wilson 1978; Barnett 1987).

The Illinois Glass Company, Swindell Brothers, and other glass maker
catalogs of the early 1900s called this style the "Boston Square Brandy" and
made it in an assortment of sizes from 2 ozs. (sample size) to a quart
(Swindell 1902; IGCo. 1906; Alther 1909; Cumberland 1911), Click on
illustration to the right. The Agnew Co, (1894) called their version the “Tall
(Boston Brandy.” The necks and/or shoulders can have decorative molded
features like swirls and fluting.

33|Page

SAC0033

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 49 of 78

e pictured bottle is a typical, though slightly smaller than seve on
verage, example of the style containing a pint (i.e., "8 to the a
on"). It was made for the Louis Taussig Co.(San Francisco, —
) and was likely a generic spirits container for an assortment,
f that company's products. This example was blown in a two- |
iece cup-bottom mold, has an improved-tooled straight |
randy (more or less) finish, plentiful air venting marks
oughout the bottle, and a slightly pink tint caused by using :
anganese dioxide as a glass decolorant. This bottle was likely jane
anufactured between approximately 1900 to 1906 as it ate
as 715 / H on the base which is likely the makers mark (the __ yt aera Aves

7 o ate Ore
ow Gam,
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omas 1998). Click on the following links to view more li + thare dns, Hi.

'H", the "715" is a mold number) for the Holt Glass Sp Be ted nett ee amet i “m
Company (Berkeley, CA.) that was destroyed by the April1g06 + #f “7 qf fat |
Francisco earthquake and not rebuilt (Toulouse 1971; sen ey cere eS 2m mt eratre
3 !
ictures of this bottle: base view;close-up of shoulder, neck, and i Tae Ss ea : ;
nish. | cat tea seg ody ctetet a Cott!

Dating summary/notes: As noted, this style seems to have originated just before the turn
of the century (19th to 20th that is) and was most popular towards the end of the mouth-blown|
manufacturing era just prior to National Prohibition, i.e., 1900 to 1920, though these can date
as early as the 1890s (Agnew Co. 1894).

he style was largely used for and identified with spirits but has been noted with embossing or
labels for medicinal products, e.g., VIN-O- CUBAN TONIC / THE GREAT DYSPEPSIA
AND KIDNEY REMEDY, This bottle is identically shaped to the one pictured, though in the "5
to the gallon” (fifth) size. It is also mouth-blown, likely dates between 1905 and 1915 (based on
shape, improved-tooled finish, multiple air venting marks, and cup-bottom mold production),
and probably contained a high alcohol product as consumers of the time would have identified
this shape with spirits (Lindsey 2005). It should also be noted that very similar to identically
shaped bottles were used for olive oil, salad dressing, vinegar and likely other liquid food
roducts during the first few decades of the 20th century (Zumwalt 1980).

34|Page

SAC0034

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 50 of 78

Teachings from the “Society for Historical Archaeology”

1. The tall square long neck spirits botties originated before the tusn of the century. “(19™ to 20" that is)”. ft
was most “popular” towards the era just prior to National Prohibition. Giving this bottle and shape over
115 years of American history.

2. The necks and/or shouiders can have decorative molded features like swiris and fluting.

3. The tall square long neck spirits bottles was “fairly popular form for liquor bottles.” This quotation does
NOT say that this bottie type was popular and unique and exclusively used by the Jack Dantel’s brand
whiskey.

4, “The style was largely used for and identified with spirits”. This sentence teaches that the identified
function of the bottie was spirits, and this association would only occur as a result of it being “largely
used” use in the public domain for spirits and liquor.

5. The article points to the fact that multiple glass factories produced this style and they reference 2 known
producers, and point out that there were others, “The diinois Glass Company, Swindell Brothers, and other
glass maker catalogs of the early 1900s” .

6 When you observe that muitiple manufactures are making identical or nearly identical bottles with slight
ornamental shifts, Its easy to understand that,

a. This bottle was a popular enough bottle that multiple manufacturers wanted the opportunity to
profit from its manufacture,
There were enough customers buying the bottle to be able to support muitiple manufactures.

c. There were enough wholesale customers wanting and willing to buy the bottle to drive the
manufactures to produce the battle, showing that this was not exclusive to one customer.

d. The bottle was used in enough abundance that manufactures called to it and labeled its
“function” as “spirits” and “liquor” across the industry and as a standard name, classification and
function by each factory.

7. The style of bottle was apparently used for wine

8. The most Important quote In this entira article Is :
*.a5 consumers of the time would have (dentifled the shape with spirits (Lindsey 2005)"

In the next pages we will review a small sampling of bottle pictures that substantiate the
findings of the “Society for Historical Archaeology”.

35 | Page

SAC0035

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 51 of 78

Historical Observations (continued):

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Craddock’s Whiskey Jack Daniels Whiskey

Observations:

On the left you will see a historical bottle that was manufactured for Craddock and Co. Dallas Texas for the
production of whiskey. This bottle was for sale on ebay and On the right you will see three examples of historical
Jack Daniel’s bottles.

It Is a known fact that Jack Daniel's purchased its bottles from the Qwens Illinois Glass company. So the existence
of the above Craddock’s Sour Mash Whiskey bottle suggests one of 2 conclusions. Conclusion 1 is that the design
of Alton bottle was sold to anyone as indicated by the placement in the catalog. Or the bottle was so popular and
common that is was manufactured by other glass bottle manufacturers. Either conclusion shows that this was an
accepted and recognized shape for American whiskey/bourban as early as 1906,

36|Page

SAC0036

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 52 of 78

Historical Observations (continued):

Gilt Edge Whiskey 1895 Jack Daniel’s

an

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Observations:

On the top row, you can see examples of historical bottles that are (1)square shaped that (2)contain a fluted or
faceted neck (3)with embossed writing. Jack Daniel’s 1895 Replica bottle is seen to the far right. Note: In the very
beginning before the application of paper labels, bottles were embossed with letters to identify the brand. It Is
apparent that Jack Daniel's uses embossed letters now as a reference to the history of bottle making and whiskey.

On the bottom row, you can see examples of historical bottles that are (1)square shaped that (2) contain a fluted
or faceted necks. The fact that each of these brands throughout history chose to use a square bottle with a faceted

or fluted neck indicates that this bottle feature combination had a functional purpose: to help people recognize
that these bottles contained whiskey/bourbon.

37 |Page

SAC0037

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 53 of 78

Historical Observations (continued):

Press Release: May 16, 2011 /PRNewswire/
Reposted : http://www.drinkhacker.com/201 1/05/16/jack-daniels-changes-its-label-and-bottle/

LYNCHBURG, Tenn., May 16, 2011 /PRNewswire/ — The Jack Daniel Distillery announced today that it is making minor
refinements to the familiar Jack Daniel's Old No. 7 bottle to accentuate the bottle's square shoulders and also to simplify the front
and side labels,

The company is quick to note that even though the bottle and label have been refined, the whiskey inside remains unchanged. The
bottle will begin shipping this month and will be an most shelves by July.

mellow character,” said John Hayes, Senior Vice President, Managing Directar Jack Daniel's,
his whiskey stood out. nents to
of the whiskey,”

This is not the first time the Jack Daniel's bottle and label have been updated. The first refinements go back to Jack Daniel who
originally sold his whiskey by the barrel. He then moved from barrel to jug to the familiar square bottle. Over the years, during
Mr. Jack's day and after, refinements were made to the battle and label: Gold medals were added to the side label as they were
won; Lynchburg sayings were added and dropped; and, room was made for more information, Quer time, 30 many things were
added that the label began to look more cluttered than it was under Mr. Jack's watch, according to the distillery,

in don, He wanted to make sure
bottle reflect the distinctive character

Observations:

It appears that “John Hayes, Senior Vice President, Managing Director Jack Daniel's“ \s not aware that
history shows that, in his day, “Jack Daniel's “ along with others were not only using square bottles but were also
using the exact same bottle that was square with fluting or faceting and an embossed logo. This demonstrates that
Jack Daniel's management might have some rmisinformation as to the Jack Danlel’s history and the history of their
bottle.

Same Blog: General Public Comment

TRAMPUS

Well, here's the thing. Just about every generic bourbon on the shelf uses a bottle and label
similar to the Jack Daniels one. The label {s barely different but the bottle sure is. I think it’s kind
of feminine looking. I’m sure enough people will cry to get it changed back, or they'll just deal
with it. I mean it isn’t that big of a deal.

Oh wait, could this be a SIGN OF THE APOCALYPSE"! (LYPSe, LYPse, LYpse, Lypse, lypse...)

Observations:
It appears that the general public agrees with our findings... that “ Every Generic Bourbon on the shelf uses a
Bottle and label similar to the Jack Daniel's one” ~Trampus -2011

38|Page

SAC0038

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 54 of 78

Answer to Interrogatory No. 19

39(/Page

SAC0039

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 55 of 78

INTERROGATORY NO. 19; “As a matter of law, the combination of elements of the
Jack Daniel’s Trade Dress is non-distinctive and not entitled to trademark protection,”

Conclusions “As a Matter of Law’:

Jack Daniel’s bottle features are clearly functional and non distinctive. The large-scale use of a square bottle design
with fluted or fareted neck indicates that this style of bottle is what consumers use to recognize American whiskey
and bourbon, not Just the Jack Daniel’s brand. Jack Daniel’s bottle shape design is a slight ornamental shift in a
recognized bottle design, used by the majority of brand houses to sall whiskey and bourbon over the last 100
years, Adding an embossment of the words “Jack Daniel's” cannot afford Jack Danlel’s the protection and exclusive
use of the other combined elements of the bottle shape,

Denying others the right to use these elements would put others at a considerable disadvantage because, they
would be forced to put their alcohol in a bottle that ls not the standard publicly recognized bottle shape identified
by consumers, Allowing the trademark of square bottle, with fluted or faceted neck and an embossed label, would
put Beam Suntory, one of Brown Forman’s comparable market competitors, at a significant disadvantage.

Brown Forman reinforces our argument that thelr bottie is functional based on the fact that they use the Jack
Daniel's bottle square shape and fluted and faced neck almost identically in style size and shape to promote their
other brand of Early Times Kentucky Whiskey. if you were a company actively protecting the alleged “unique”
trade dress of your bottle design, because it was so unmistakable, unique, and identifiable, why would you use an
almost Identical design to promote another whiskey brand that you manufacture, and market at a fower price
structure?

This paralleled use of hottie features clearly indicates that Brown Forman uses the square shape and faceted or
fluted neck as functional indicators to direct consumers to whiskey and bourbon. if this were not the case, then
maybe they would have chosen a different more distinctive bottle to separate the Early Times brand whiskey from
the Jack Daniel's brand whiskey. They did not take that path.

The deliberate decision to make the common association between two brands by the same owner clearly shows
that the shape of the bottle is functional and thelr trademark Jack Dantel’s signature Is the oniy protectabie part of
their bottle design in the Trademark reg no, 4,106,178 ,

Simply applying the name Jack Daniel's does not give them the right to have umbrella Iike protection to the shape
of everything they put thelr name on.

In looking at the historical information provided, it is clear that Jack Daniel’s at some point adopted a “Liquor
Bottle” style of container commonly available to any person purchasing glass from Owens Illinois. The selection of
a “Liquor Bottle” from the “Liquor Bottle” section of the catalog clearly indicates that Jack Danlel’s expected to
gain an advantage because his product would be marketed in a container that was recognized for containing
alcoholic beverages. Jack Daniel's could have just as easily chosen a container from the pickle jar section to bottle
his goods. Jack Daniel's must have known that the container type he selected has functional because the shape
would clearly convey to the consumer in 1 glance that the contents were a sprit or alcohol. He did not choose a
pickle jar because he would have had an additional hurdle to overcome....consumers would be confused by the
bottle shape. The continued sales of whiskey and bourbon over the past 100 years has created this functional
recognition and trained generations of consumers that this shape of bottle is identified and categorized with

40|Page

SAC0040

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 56 of 78

whiskey and bourbon. This is reflected in the results of our study which shows the widest use to be square with a
faceted or fluted nack. Whisky and bourbon have adopted the bottie style of the square tiquor bottle with the
faceted or fluted necks because it is a functional part of history that is identifiable 1" with alcohol, as defined as
the functional use in the Owens Illinois Co catalog teaches, and then 2" with the spirit type of whiskey / bourbon,
as we are also taught by same catalog, that there is a functional association with every bottle type.

These facts lead us to the undeniable conclusion that the Jack Daniel's Trademark Bottle Registration should “Not”
be entitled to trademark protection because jit Is functional and non distinctive , and by allowing its continued
registration it is putting competitors at a disadvantage.

**Special Note: You must consider that their trademark is for “Distilled Spirits’ and “Distilled Spirits” would alsa
include scotch, gin, tequila, rum, cognacs and more,

41|)Page

SAC0041

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 57 of 78

Bottle & Label Trade Dress Analysis

A Statistical Evaluation of Data Collected from Reviewing 114 Bottles

From 7 Brand Houses and Others

(See spreadsheet for individust detail and bottle dota}

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SAC0042

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 58 of 78

Background

Alleged Bottle Trade Dress

Jack Daniel's Properties, Inc. {“JDPI”), owned by Brown Forman Inc, the owners of the Jack Daniel's portfolio,
claims that it owns trademark rights In the Jack Daniel’s Old No. 7 whiskey bottle “iconic trade dress consisting of”
the following elements, namely: (1) “a square bottle with a ribbed neck,” (2) "a black cap,” (3) “a black neck wrap
closure with white printing bearing the OLD NO. 7 mark,” and (4) “a black front label with white printing and a
fillgreed border bearing the JACK DANIEL’S mark depicted in arched lettering at the top of the label, the OLD NO. 7
mark contained with a fillgreed oval design in the middle portion of the label beneath the

JACK DANIEL'S mark and the words Tennessee Sour Mash Whiskey in the lower portion of

the label, with the word ‘Tennessee’ depicted in script” (see Amended Complaint, para. 14,

and Amended Answer, para. 14).

The alleged Jack Daniel's bottle trade dress has four elemental features:

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(1) “a square bottle with a ribbed neck,”

(2) “a black cap,”
{3) “a black neck wrap closure with white printing” and

(4) “a black front label with white printing” (see Amended Complaint, para. 25).

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Statistical Objectives i CTs

VIP reviewed 114 bottles used by American whiskey/bourbon brands to determine
whether the combined four elemental features of the alleged Jack Daniel's bottle trade
dress are:

1. Basic design features common in the industry for distilled spirits, particularly bourbon and other American
whiskey; features that, if allowed to be used exclusively by tack Daniel's, would significantly undermine
competitor's ability to compete with Jack Daniel's in the sale of distilled spirits;

2, Design elements that are merely ornamental or decorative and do not function as features signifying
products from the Jack Daniel’s;

3, Acombination of features that is generic for distilled spirits in general or American whiskey in particular
because their primary significance is to identify any distilled spirits, particularly bourbon or other
American whiskey, rather than products from Jack Daniel's;

4. Amere refinement of or variation on existing bottle design or bottle trade dress with the field of distilled
spirits and whiskey In particular,

The following pages reveal the results of that review and an analysis of these results and the conclusions drawn
from that anatysis.

43} Page

SAC0043

Case 2:14-cv-02057-SMM Document 229-2

Summary of Results '

Filed 10/19/17

Page 59 of 78

Identification of the 4 primary features of the Jack Daniel’s alleged bottle trade dress:

(1) a square bottle with a ribbed neck; (Fluted of Faceted)

(2) a black cap;
(3) a black neck wrap closure

(4) a black front label with white printing

Bottles Collected and Reviews By Brand House:

BRAND HOUSE Number Of Reported 2013 Revenue | Percentage
Bottles (As Reported to the SEC) | Bottles / Total
Reviewed
1 Alltech 3 Private 3%
2 Beam Suntory 25 3,148,400,000.00 22%
3 Brown Forman 13 3,784,000,000,00 11%
4 Heaven Hill 19 Private 17%
5 KBD (Kentucky Bourbon Distillers) 12 Private 11%
6 Luxco 8 Private 71%
7 Sazerac Brands 2i Private 18%
& Others 13 Unknown 11%
TOTAL | 114 100%
As Reported to the SEC
ADVERTISING Budget Beam Suntory 2013 401,000,000
ADVERTISING Budget Brown Forman 2013 408,000,000

44|Page

SAC0044

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 60 of 78

Statistical Results Based on Use of Features INDEPENTANTLY of the Other Features:

BRAND HOUSE | Number Of | Square | Ribbed | Black | Glack | Black White
Bottles Bottle | Neck [ Cap Neck j Back Text
Reviewed Wrap | Ground
1 Alltach 3 1 0 1 0 0 a
2 Beam Suntory | 25 18 12 13 11 9 13
3 Brown Forman | 13 12 5 9 7 5 7
4 Heaven Hill 19 7 8 10 9 7 9
5 KBD 12 2 3 11 9 2 3
6 Luaco B 4 4 4 3 4 5
7 Sazerac Brands | 21 7 7 11 10 7 3
8 Others 13 5 8 9 8 S 8
TOTAL | 114 56 51 68 57 43 54
49% 45% 50% S0% 38% AT%
Observations:

The mast important observation to make here is that we are locking at these elements as @ feature “independent”
of any other element. The purpose is to understand how common the element is on [ts own.

It has been made clear by the courts that you cannot consider the use of individual elements on their own and you
must look at the combination of the elements as a group in their entirety.

These numbers reflect that each of these elements Is a common afement and is used frequently. Therefore, to
appeal to the court's request, we must look at the numbers as the most common elements are added together,

Statistical Results Based on the Combinations of Features
The next step of this report will display the statistics of the following combinations. We will do this in order of the
Identifiable bottie trade dress as defined by Jack Daniel's.

1* Combination: Square Bottle with Fluted or Faceted Neck
{1) a square bottle with a ribbed neck; (Fluted of Faceted}

2" Combination:
{1} 2 square bottle with a ribbed neck; (Fluted of Faceted}
{2) a black cap;
3™ Combination:
(2) a square bottle with a ribbed neck; (Fluted of Faceted)
(2) a black cap;
{3) a black neck wrap closure

4" Combination:
(1) a square bottle with a ribbed neck; (Fluted of Faceted)
(2) a black cap;
{3} 2 black neck weap closure
{4} a black front label with white printing

45 |Page

SAC0045

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 61 of 78

1* Combination: Square Bottle with Fluted or Faceted Neck
(1) a square bottle with a ribbed neck; (Fluted of Faceted)

BRAND HOUSE Number Of | Comment Percentage
Bottles Bottles / Total
1 Alltech 0 0%
2 Beam Suntory 12 29%
3 Brawn Forman 9 21%
4 Heaven Hill 8 19%
5 KBD {Kentucky Bourbon Distillers) | 2 5%
6 Luxco 4 10%
Zz Sazerac Brands 4 10%
8 Others 3 7%
TOTAL | 42 100%
This value Represents 36% of the 114 Bottles Reviewed

Observations:
This is the combination of the first 2 elements in our study. These represent the feature (1) a square bottle with a

ribbed neck; (Fluted of Faceted). We are showing the “independent” value to show that on their own, or
together, they stil! represent a large segment of the market. But .a5 Stated hefore, you must cansider the elements
together with other elements.

46|Page

SAC0046

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17

2™! Combination:

(1) a square bottle with a ribbed neck; (Fluted of Faceted)

(2) a black cap;

Page 62 of 78

BRAND HOUSE Number Of | Comment Percentage
Bottles Bottles / Total

1 Alltech 0 0%
2 Beam Suntory 5 29%
3 Brown Forman 7 21%
4 Heaven Hill 3 19%
5 KBD (Kentucky Bourbon Distillers) | 2 5%
6 Luxco 2 10%
7 Sazerac Brands 1 10%
8 Others 2 7%

TOTAL | 22 100%
This value Represents 19.3% of the 114 Battles Reviewed

Observations:

With the addition of element (2) black cap, the frequency has dropped 48% to 21 bottles

All but 1 competitor maintains bottles that carry these 2 elements.

47 |Page

SAC0047

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 63 of 78

3™ Combination:
(1) a square bottle with a ribbed neck; (Fluted of Faceted)
(2) a black cap;
(3) a black neck wrap closure

BRAND HOUSE Number Of | Comment Percentage
Bottles Bottles / Total
1 Alltech 0 O%
2 Beam Suntory 5 29%
3 Brown Forman 5 21%
4 Heaven Hill 3 19%
5 KBD (Kentucky Bourbon Distillers) | 2 5%
6 Luxco 2 10%
7 Sazerac Brands 1 10%
8 Others 2 7%
TOTAL | 20 100%
This value Represents 17.5% of the 114 Bottles Reviewed

Observations:
The addition of element (3) a black neck wrap, has only changed the results by 2 unit. It would appear that it is a

common practice to use a black cap combined with a black neck wrap together,

All but 1 competitor maintains bottles that carry these 2 elements.

48|Page

SAC0048

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 64 of 78

qa Combination, The Combination of all elements in Jack Daniel’s Alleged Bottle Trade Dress
(1) a square bottle with a ribbed neck; (Fluted of Faceted)
(2} a black cap;
(3) a black neek wrap closure
(4) a black front label with white printing

BRAND HOUSE Number Of | Comment Percentage
Bottles Bottles / Total

1 Alltech 0 0%
2 Beam Suntory 3 21.5%
3 Brown Forman 3 21.5%
4 Heaven Hill 3 21.5%
5 KBD (Kentucky Bourbon Distillers) | 1 7.1%
6 Luxco 1 7.1%
7 Sazerac Brands 1 7.1%
8 Others 2 14.2%

TOTAL | 14 100%
This value Represents 12.3% of the 114 Bottles Reviewed

** See Image Below of all 14 Bottles Side by Side

Observations:
This is the combination of all 4 elements, It is important to notice that ALL but 1 competitor have at least 1 battle

using these four combined elements,

“By alleging that other companies use a similar design and by providing examples of similar-looking bottles, VIP has
plausibly alleged that Jack Daniel's bottle design lacks secondary meaning”

NOTE: Brown Forman’s 2 bottles brands are Jack Daniel’s, and Early Times. Two separate brands using the Identical
4 distinct features, concedes that these features are indicators of whiskey/bourbon and are not unique to Jack
Daniel's.

Margin of Error:

One could argue that 2 of these bottles have coloration and that the 2 bottles should not be Included. For example
Jim Beam Fire has a Fire Element added, or that Early Times has a yellow shaded area. It must be noted that even if
you were to remove these twa bottles from the sample set you have not eliminated the fact that All but one
competitor have a brand that they use this bottle trade dress, And by adding bottles to this sample sat would only
Increase the argument that these four elements are cammon to any company wanting to portray their bottle as
containing Whiskey or Bourbon.

49|Page

SAC0049

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 65 of 78

qt Combination, The Combination of all elements in Jack Daniel’s Alleged Bottle Trade Dress
(1) a square bottle with a ribbed neck; (Fluted of Faceted)
(2) a black cap;
(3) a black neck wrap closure
(4) a black front label with white printing

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50|Page

SAC0050

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 66 of 78

Conclusions:
Jack Daniel's Bottle features are clearly functional and non distinctive:
The jack Daniel's Battle is a mere refinement of or variation of the 4 alleged bottie trade dress elements.

“The combination of elements of the Jack Daniel’s Trade Dress is generic because their
primary significance is to identify any distilled spirits, particularly bourbon or other corn
based whiskey, rather than products from the Jack Daniel’s distillery”

The facts in this study clearly identify that each Brand House that competes with lack Daniel’s has at least 1 brand
for which they uses the four elements alleged by Jack Daniel’s to be the trade dress of their bottle. The broad use
of thesa eiements shown here indicates that these elements combined have a functional meaning to indicate that
the contents are Whiskey or Bourbon. it’s no surprise that each of these brands js utilizing the historical classic
fook that was at the origins of whiskey. The lock is a classieal look that was used by many and to date is still used
by many.

The law should not jimit the use of these elements exclusively to Jack Daniel's as doing so would prevent the
continued sales of 12 other bottles. Additionally, it would require that Brown Forman discontinue its use of these
elements on its own Early Times brand whiskey bottle. Brown Forman cannot claim te the court that these
elements that create their alleged bottle trade dress are exctusive to lack Daniel's brand but then continue to use
them to promote another brand AND prevent other from using them at the same time.

The large scaie use of 3 square bottle design with fluted or faceted neck, indicates that this styie of bottie is what
cansumers use to recognize Whiskey and Bourbon nat Just the Jack Daniel’s Brand. Jack Daniel's bottle shape as
design is a slight arnamental shift in a recognized bottle design used by the majority of Brand Houses ta sell
whiskey and bourbon over the Last 100 years.

Thus, the bottle design used by Jack Daniel’s “serve(s] an aesthetic purpose whoily independent of any source-
identifying function.”

You can’t just look at present day market conditions... you have to look at 100 years of history... .
The point being that, even, if everyone stapped using these elements and style, that fact alone does not give rise

to allow Jack Daniel’s the right to scoop up all the efements of 100 years of history and claim it to be exclusively
thelr own.

SilPage

SAC0051

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 67 of 78

Ornamental Features Of the Jack Daniel’s Bottle

A Statistical Evaluation of Data Collected fram Reviewing 114 Bottles

From 7 Brand Houses and Others

{See spreadsheat for individual detail and battle data)

52| Page

SAC0052

Case 2:14-cv-02057-SMM Document 229-2

Filed 10/19/17

Page 68 of 78

Summary Results: The Ornamental Features of the Jack Daniel’s Bottle

Percent Usage on all 114 bottles Reviewed

Square Bulb Fluting Black Cap | Black Neck Black Back White Text
Shape Neck Faceting Color Color Color Color
49% 50% 45% 60% 50% 38% 47%
Filigree Arehed Brand Display Center The Word Embossed
Name Location State Medallion Old Letters

Or Graphic
49% 50% 45% 60% 50% 38% 15%
Observations:

Based on the fact that aach of these elements have from 38% - 60% usage in the 114 bottles reviewed, it would be
an easy assessment to say that all of the above Features are ornamental and functional for selling spirits.

There is
it was un

The only

no one unique feature found in the Jack Daniel's list of features above that would raise an indicator that
ique to Jack Daniel’s.

unique feature that would be exclusive to the Jack Daniel’s Brand and Bottle would ba the Trademarked

name “* Jack Daniel's” and the exact word combination “Old No. 7”

Further down we will address “Old No. 7” and the fact that Jack Daniel's does not have exclusive use of the words
“Old No.” with any other number combination, or the exclusive use of the number “7”,

Statistical Results Based on Jack Daniel’s use of alternative colored labels

The next
grouped

step Of this report will display visuals of bottles from the 114 bottles reviewed. The images will be
buy colors used by Jack Daniel's. The purpose of showing these images is to show that even when Jack

Daniel's changes the color of the fabel, all competitors have identical elements and overall iook. Then this report
will address the use of filigree , embossing, the use of the number 7, the and the use of the words “old no,”

See the Next 7 Pages will that verify the replicated use of the above features in our study

S31P a

Page 1: Black Labfes

Page 2 : White Labels

Page 3: Color / Fiavor Labels
Page 4: Fillgree

Page 5 ; Embassing

Page 6 : The Number 7

Page 7 : The words “old no.”

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SAC0053

Page 69 of 78

Filed 10/19/17

Case 2:14-cv-02057-SMM Document 229-2

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SAC0054
Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 70 of 78

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Jack Daniels Makes a Reverse Label,

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Page 71 of 78

Filed 10/19/17

Case 2:14-cv-02057-SMM Document 229-2

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- SJOAB] JO SUOIHEUBA JO}OD SeyYeyy sjejueg yoEr

SAC0056
Case 2:14-cv-02057-SMM Document 229-2

Filigree:

Filed 10/19/17

Page 72 of 78

We found that 49% of the bottles surveyed have some degree of filigree on the label. Here are some examples.

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57|Page

SAC0057

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 73 of 78

Embossed Bottles:

Above and beyond the bottles that we have reviewed already, embossing is used in almost all
segments of the spirit industry. Therefore, it is NOT the” embossing” of the words “Jack
Daniel's” that is a trademark feature. It is simply the stand alone words “Jack Daniel’s”.

5B|Page

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 74 of 78

Use Of Number 7:

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One could argue there is a large percentage of bottles that use the number 7 on their bottle on
the center, Such as Seagram’s 7, Old Ezra number 7.

59|Page

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17

Use Of the words “Old No.”:

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Page 75 of 78

Jack Daniel’s does not have the exclusive use of the partial phrase “Old No.” because you can
find this exact phrase on other bottles such as Bench Mark & George Dickel “Old No”. 8.

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60|Page

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 76 of 78

Generic Public Perception of Whiskey Bottle:
The below Images are GENERIC images that are on the website shutter stack, This Is a website that sells generic
stock photos for use in other works of art for advertising and websites. You can draw your own conclusion as to

what the Generic Look of whiskey is ta the public eye.

61|Page

SAC0061

Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 77 of 78

Generic Public Perception of Whiskey Labeling & Advertising:

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62|Page

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Case 2:14-cv-02057-SMM Document 229-2 Filed 10/19/17 Page 78 of 78

Final Conclusion:

The primary features of the Jack Danlel’s
bottle design and the alleged Jack
Daniel's bottle trade dress are basic
design features common in industry for
distilled spirits, particularly whiskey.
Those combined primary features, if
allowed to be used exclusively by JD,
would significantly undermine a
competitor's ability to compete with
Jack Daniel’s In the sale of distilled
spirits.

The combined four primary features of the alleged Jack Daniel’s bottle trade dress and the combined three
primary features of the Jack Daniel's bottle design are, overall, merely ornamental or decorative features that do
not function as features signifying praducts from the Jack Daniel's distillery alone.

The combination of the three primary features of the Jack Daniel’s bottle design is generic, overall, because the
primary features’ significance Is to identify any distilled spirits particularly bourbon or ather American whiskey,
rather than products from Jack Daniel's distillery in particular. Take off the words “Jack Daniel's” and “Old No. 7”
from the complete Jack Daniel's bottle design and all you have left is an ornamental variation of a generic bottle
shape and styling that is comprised overall of nothing more than features found in the generic bottle designs and
trade dress of the whiskey/bourbon Industry as a whole.

The combination of the four primary
features of the alleged Jack Daniel's trade
dress Is generic for distilled spirits in
general or American whiskey in particular
because their primary significance |s to
identify any distilled spirits, particularly
bourbon or other American whiskey,
rather than products from Jack Daniel's;
and a mere refinement of or variation on
existing bottle design ar trade dress with
the field of distilled spirits and whiskey in
particular.

The point is very simply: other than the word cambination “lack Daniel's” and the exact combination “Old No, 7,”
the overall primary features are not unique and exclusive to Jack Daniel's. Many other competitors in the Industry
clearly use EVERY ONE of the same Primary features of bottle design alleged trade dress to some degree and some
use ALL of the primary features, making It obvious that the Bottle Oesign and the alleged Bottle Trade Dress belong
to every competitor In the whiskey/bourbon industry.

63|Page

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